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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


JAMES HAYDEN,                              CASE NO. 1:17-cv-02635-CAB

               Plaintiff,                  JUDGE CHRISTOPHER A. BOYKO

v.

2K GAMES, INC. and TAKE-TWO
INTERACTIVE SOFTWARE, INC.,

               Defendants.



            DEFENDANTS’ BRIEF REGARDING STATUTORY DAMAGES
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         Pursuant to the Court’s March 8, 2024 Order, Dkt. 273, Defendants 2K Games, Inc. and

Take-Two Interactive Software, Inc. (collectively, “Take-Two”) respectfully submit this brief

addressing the election of damages under 17 U.S.C. § 504 and related procedural issues. Take-

Two notes that, less than 24 hours ago, Plaintiff’s counsel informed Take-Two by phone that

Plaintiff was electing actual damages instead of statutory damages. That makes sense because, as

discussed below, Plaintiff waived the ability to seek statutory damages, which were unavailable to

him as a matter of law anyway. Take-Two understands Plaintiff’s decision to obviate the need for

his proposed jury instruction and verdict form on this issue. See Dkt. 267-3 (Pl.’s Jury Instruct.)

20–21; Dkt. 267-4 (Pl.’s Verdict Form) 6–7. Despite this recent news, Take-Two sets forth the

posture of the statutory damages issue below, particularly as the Court may still rule on its motion

for summary judgment on Plaintiff’s attorney’s fees demand under 17 U.S.C. § 412.

  I.     STATUTORY DAMAGES (AND ATTORNEY’S FEES) ARE UNAVAILABLE

         Plaintiff James Hayden long ago waived statutory damages in this case. On October 25,

2021, Take-Two moved for summary judgment on the unavailability of statutory damages and

attorney’s fees. See Dkt. 95-1 (Defs.’ Summ. J. Br.) 29. The basis of that motion was the plain

text of the Copyright Act confirming that when a copyright owner registers his work after alleged

infringement commences, he is barred from seeking statutory damages or attorney’s fees. Id. at

29–30 (citing § 412). On September 20, 2022, the Court found Take-Two’s motion was “moot”

because Plaintiff already had elected his § 504 remedy: actual damages and disgorgement instead

of statutory damages. See Dkt. 193 (Summ. J. Op.) 19. Plaintiff’s consistent adherence to this

election makes sense given that the maximum amount of statutory damages even theoretically

available here would be orders of magnitude less than the profits he alleges somehow are related

to two tattoos in a massive basketball video game. See Dkt. 267 (Pl.’s Trial Br.) 17–18 (providing




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law for disgorgement only; arguing “relatively low” burden for disgorgement requires he prove

only Take-Two’s “gross revenue” of the “broader work”).1

        To this day, Plaintiff never moved for relief under Rule 60 from the Court’s order as to his

election.2 As a result, Take-Two has relied on the unchallenged order and Plaintiff’s election in

its trial preparation, including with its pretrial filings. It is now the eve of trial, and 18 months

since the order. Plaintiff should not be permitted to spring a last-minute switch on the Court and

on Take-Two, nor to confuse the jury with unnecessary instructions and verdict questions.

        If the Court were inclined to reverse course despite Plaintiff’s waiver, Take-Two

respectfully requests it then reconsider Take-Two’s motion for summary judgment on statutory

damages and attorney’s fees, which would no longer be moot. See Summ. J. Op. 19. As explained

in Take-Two’s motion, § 412 bars a copyright owner’s recovery of statutory damages or attorney’s

fees when a work is registered after alleged infringement commences. Defs.’ Summ. J. Br. 29.

Moreover, the Sixth Circuit has made clear that, where “the first act in a series of acts constituting

infringement occurs” prior to registration, § 412 bars such recovery for both the pre- and post-

registration conduct, without “room for discretion.” Johnson v. Jones, 149 F.3d 494, 505–06 (6th

Cir. 1998) (emphasis added). Consistent with Johnson, courts routinely hold that “when the same

defendant infringes on the same protected work in the same manner as it did prior to the work’s


1
    At best, Plaintiff might hope to recover $300,000 in statutory damages ($150,000 per tattoo)—and only if the
    maximum possible amount is awarded for each tattoo. See infra 4 (one award per work); see also Dkt. 33 (4th
    Am. Compl.) ¶¶ 160–65 (alleging Take-Two has hundreds of millions of dollars in revenue from NBA 2K).

2
    Nor can he do so now by claiming (wrongly) that the Court made a “mistake.” Rule 60(b) motions must be filed
    “within a reasonable time,” which is strictly limited to one year where the ground for the motion is mistake. See
    In re G.A.D., Inc., 340 F.3d 331, 334 (6th Cir. 2003) (“Regardless of circumstances, no court can consider a [Rule
    60(b)(1)] motion . . . a year after judgment.”); see also United States v. Williams, 56 F.4th 366, 370 (4th Cir.
    2023) (“[T]he one-year limit is an outer limit.” (emphasis in original)). Mistakes subject to this limit include any
    “substantive mistake of law or fact in the . . . order.” Sanford v. Russell, No. 17 Civ. 13062, 2022 WL 286549,
    at *2 (E.D. Mich. Jan. 31, 2022). If Plaintiff disagreed with the Court’s finding as to his election, he was required
    to move promptly for reconsideration under Rule 60(b). He did not do so, and the reasonable time to submit such
    a motion has long since lapsed.



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registration, the post-registration infringement constitutes the continuation of a series of ongoing

infringements” and therefore renders unavailable statutory damages and attorney’s fees under

§ 412. Solid Oak Sketches, LLC v. 2K Games, Inc., No. 16 Civ. 724, 2016 WL 4126543, at *3

(S.D.N.Y. Aug. 2, 2016) (“The pre- and post-registration versions of the 2K series are the same

basketball simulation video game.”); see also Defs.’ Summ. J. Br. 29–30 & n.21 (collecting cases

finding statutory damages unavailable on Rule 12 and Rule 56 motions).

        Summary judgment is proper here because there is no genuine dispute of material fact for

the jury to decide, nor has there ever been. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

The parties agree Plaintiff registered his purported copyrights in 2016, but the first NBA 2K game

at issue was released in 2015. See Dkt. 262 (Joint Stip.) ¶¶ 4, 6. Moreover, LeBron James appeared

in NBA 2K with his tattoos long before that. See Dkt. 268 (Defs.’ Trial Br.) 4 (NBA players

included in NBA 2K with their tattoos since 2001); Dkt. 221-2 (James Tr.) 73:20–23. And the

Court has found that the NBA 2K games all use the Asserted Tattoos as part of depicting a “realistic

avatar[]” of Mr. James bearing his “physical features and likeness.” Summ. J. Op. 3. Because all

the games in the NBA 2K series that are at issue use the Asserted Tattoos in this same manner, any

alleged infringement commenced before registration, and Plaintiff is not entitled to pursue

statutory damages or attorney’s fees.3 There simply is nothing left for the jury to determine, and

the Court should grant Take-Two’s summary judgment motion.


3
    Whether other elements in the games are different is irrelevant; it is undisputed that nothing about Take-Two’s
    manner of using the Asserted Tattoos differs between these games. See Dkt. 135 (Defs.’ Rpl. Summ. J. Br.) 20.
    Plaintiff apparently agrees. His operative Complaint refers to Take-Two’s alleged “past and continuing
    infringement.” 4th Am. Comp. ¶¶ 176, 182 (emphasis added). His trial brief repeatedly refers collectively to
    “NBA 2K,” the “NBA 2K video games,” and the “Accused Games,” and to Take-Two’s “use” (not “uses”) of the
    Asserted Tattoos, without ever explaining how any of the six games at issue differs from the rest in its manner of
    using the Asserted Tattoos. See Pl.’s Trial Brief 1, 4, 5, 6, 8, 13, 17, 18, 19. Even his jury instructions refer to
    the “NBA 2K Games” and “Defendants’ use” (not “uses”) of the Asserted Tattoos. See Pl.’s Jury Instruct. 3, 5,
    12, 14, 15, 17. Where there is one use at issue, and it has been continuing since before registration, § 412 bars
    recovery of statutory damages and attorney’s fees.



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              Accordingly, either Plaintiff has waived these remedies or Take-Two should be granted

summary judgment on them. By finding waiver or granting Take-Two’s motion, the Court will

further streamline the trial scheduled for next month by obviating the need for jury instructions

regarding statutory damages or a verdict form addressing them.

    II.       STATUTORY DAMAGES, IF AVAILABLE, WOULD BE A JURY QUESTION

              The Court therefore does not need to decide which determinations as to statutory damages

are for the jury on evidence adduced at trial and which are for the Court on evidence and arguments

outside the presence of the jury for two reasons. First, as briefed above, Plaintiff waived any right

to elect statutory damages. Second, as discussed thoroughly above and in Take-Two’s summary

judgment brief, there are no genuine disputes of material fact on this issue. Regardless of whether

statutory damages presents factual questions, there is no need for a jury’s assistance where, as here,

the parties do not genuinely dispute the material facts.

              Were either of these reasons for precluding statutory damages not the case, then and only

then would the issue present as to what would be for the judge and what for the jury. In that

situation, statutory damages should go to the jury.4 Feltner v. Columbia Pictures Television Co.,

523 U.S. 340, 355 (1998) (Seventh Amendment right to a jury on statutory damages). Except

where, as here, he has waived his right to do so, see supra 1, a plaintiff may elect statutory damages

at any time before final judgment, and may present both actual and statutory damages to the jury.

See Premier Dealer Servs., Inc. v. Allegiance Admins., LLC, No. 18 Civ. 735, 2022 WL 1604739,

at *2–3 (S.D. Ohio May 20, 2022). Statutory damages awards are a limited remedy: a plaintiff


4
          By contrast, attorney’s fees under 17 U.S.C. § 505 are decided by the Court in its discretion after trial. See GMA
          Accessories, Inc. v. Olivia Miller, Inc., 139 F. App’x 301, 304 (2d Cir. 2005) (reviewing for abuse of discretion).
          But because Plaintiff registered his purported copyrights after Take-Two’s alleged infringement commenced, see
          supra 2–3, § 412 bars him from seeking attorney’s fees. Thus, just as determining whether questions as to
          statutory damages may be for the Court or the jury is a non-issue in this case, whether Plaintiff may seek attorney’s
          fees also can be resolved without even an advisory jury verdict. He cannot.



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may collect only “an award of statutory damages for all infringements involved in the action, with

respect to any one work for which any one infringer is liable.” § 504(c)(1) (emphasis added); see

also Mason v. Montgomery Data, Inc., 967 F.2d 135, 143–44 (5th Cir. 1992) (number of statutory

damages awards “depends on the number of works that are infringed . . . , regardless of the number

of infringements” (emphasis in original)). The jury should determine the amount of statutory

damages as well as subsidiary issues of commencement of infringement, innocent infringement,

and willfulness, assuming there exists a genuine dispute as to any of these issues. See Broad.

Music, Inc. v. The Hill, LLC, No. 16 Civ. 230, 2017 WL 10398725, at *8 (E.D. Tenn. July 17,

2017) (innocent infringement is a jury question); GMA, 139 F. App’x at 303 (willfulness is a

“factual determination”); see also supra 2–4 (no genuine dispute). Finders of fact have “wide

discretion to award damages in [the] statutory range,” considering factors such as “the defendant’s

blameworthiness, the profits gained and expenses saved by the defendant due to the infringement,

and the plaintiff’s lost revenues.” Broad. Music, 2017 WL 10398725, at *7.

       As applied here, if Plaintiff may still elect statutory damages, Take-Two respectfully

demands a jury determination of the appropriate awards for each of the two Asserted Tattoos that

Take-Two allegedly infringed, as well as of the subsidiary issues of fact relevant to the jury’s

statutory damages awards. In view of Plaintiff’s failure to timely file a Rule 60 motion after the

Court’s September 2022 finding as to Plaintiff’s election, Take-Two did not submit verdict

questions or jury instructions related to this issue. Should the Court permit Plaintiff to seek

statutory damages in this trial, Take-Two submits the attached proposed jury instruction, which it

respectfully suggests should appear between its previously submitted instructions No. 26 (Take-

Two’s Profits) and No. 27 (Duty to Deliberate), as well as a proposed alternative jury verdict form.

See Exs. A, B.




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Dated: New York, NY
       March 14, 2024                   /s/ Dale M. Cendali
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